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    A Limited Liability Partnership
 2 Including Professional Corporations
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 7
 8                          UNITED STATES DISTRICT COURT
 9                       NORTHERN DISTRICT OF CALIFORNIA
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   NAVIGATORS INSURANCE                          Case No. 13-cv-05954 RMW (PSG)
11 COMPANY,
                                                 DECLARATION OF MARTIN D.
12                      Plaintiff,               KATZ IN SUPPORT OF
                                                 DEFENDANT DIALOGIC INC.'S
13            v.                                 MOTION TO DISMISS FOR
                                                 FAILURE TO JOIN
14 DIALOGIC INC. formerly known as               INDISPENSABLE PARTIES; OR,
   VERAZ NETWORKS WC. and DOES                   IN THE ALTERNATIVE, FOR AN
15 1-50,                                         ORDER COMPELLING JOINDER
16                      Defendants.              Fed. R. Civ. P. 12(b)(6) & 19
17                                               [Notice of Motion and Motion to
                                                 Dismiss filed concurrently herewith]
18
19                                               Hearing Date:      May 2, 2014
                                                 Hearing Time:      9:00 a.m.
20                                               Courtroom:         6 (4th Flr.)
21                                               Trial Date:        n/a
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                                                                 Case No. 13-cv-05954 RMW (PSG)
     SMRH:419350146.1     KATZ DECLARATION I/S/0 MOTION TO DISMISS FOR INDISPENSABLE PARTY
 1                             DECLARATION OF MARTIN D. KATZ
 2            I, Martin D. Katz, declare as follows:
 3            1.        I am an attorney, admitted to practice before this Court. I am a partner
 4 in the law firm Sheppard, Mullin, Richter & Hampton LLP, counsel of record herein
 5 for Defendant Dialogic Inc. (formerly known as Veraz Networks, Inc.) ("Dialogic").
 6 This declaration is submitted in support of Dialogic's concurrently filed Motion to
 7 Dismiss for Failure to Join Indispensable Parties; or, in the Alternative, For an Order
 8 Compelling Joinder ("Motion"). Unless otherwise stated, I have first-hand
 9 knowledge of the matters set forth herein and, if called and sworn as a witness, I
10 could, would and hereby do competently testify as follows:
11            2.        Prior to the filing of this action (and continuing thereafter), I have
12 represented Dialogic in connection with certain aspects of its attempt to secure a
13 commitment from its excess insurers, Plaintiff Navigators Insurance Company
14 ("Navigators") and W.R. Berkley Corporation ("Berkley"), to afford coverage in
15 connection with the claim described below as the 2011 Claim. This has also
16 necessitated interfacing with Dialogic's primary insurer, Liberty Insurance
17 Underwriters Inc. ("Liberty").
18            2.        This dispute involves different insurance policies issued by Dialogic's
19 insurers, Liberty, Navigators and Berkley. It also involves certain underlying claims
20 that trigger one or more these policies and the insurers' coverage decisions in
21 connection therewith. Dialogic considers the underlying claims and the insurers'
22 coverage decisions to be confidential. There are also certain aspects of the insurance
23 policies that Dialogic considers confidential. Accordingly, I have not attached these
24 materials to my declaration. Instead, I have described the salient facts below, most of
25 which are also set forth in the Complaint.
26            3.        From April 4, 2007 to April 4, 2008, Liberty issued a primary insurance
27 policy to Dialogic (the "2007-08 Liberty Primary Policy"). The 2007-08 Liberty
28 Primary Policy obligates Liberty to cover the first $5 million of loss arising from a

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 1 "Claim" (after satisfaction of a deductible). Under a separate policy, Liberty was
 2 Dialogic's primary insurer from April 4, 2010 to April 4, 2011 (which was extended
 3 by endorsement to April 4, 2012) (the "2010-12 Liberty Primary Policy").) The
 4 2010-12 Liberty Primary Policy again covers the first $5 million of loss (after
 5 satisfaction of a deductible) on terms similar to the 2007-08 Liberty Primary Policy.
 6            4.        During the same policy period as the 2007-08 Liberty Primary Policy —
 7 April 4, 2007 to April 4, 2008 — Navigators was Dialogic's first level excess insurer.
 8 The Navigators policy in effect during that time (the "2007-08 Navigators Excess
 9 Policy") follows form to the 2007-08 Liberty Primary Policy, meaning that if a loss
10 triggers the 2007-08 Liberty Primary Policy, it also triggers the 2007-08 Navigators
11 Excess Policy after exhaustion of the limits of liability of the 2007-08 Liberty
12 Primary Policy.
13            5.        During the period April 4, 2010 to April 4, 2011, Berkley was Dialogic's
14 first level excess insurer. The excess policy issued by Berkley (the "2010-11 Berkley
15 Excess Policy") follows form to the 2010-12 Liberty Primary Policy, covering the
16 next $5 million of liability for any covered loss after exhaustion of the 2010-12
17 Liberty Primary Policy. Section VI.0 of the 2010-11 Berkley Excess Policy
18 provides, in pertinent part: "It is understood and agreed that [Berkley's] liability for
19 all losses under this Policy shall attach only if one of the following situations occurs
20 as a condition precedent: (1) Each and all of the Underlying Insurance duly admits
21   liability for the loss and, consequently, pays the full amount of their respective
22 liability. . . ."
23            6.        Dialogic notified Liberty of a claim (the "2008 Claim") and requested
24 coverage from Liberty under the 2007-08 Liberty Primary Policy. Liberty ultimately
25 afforded coverage for the 2008 Claim. Because the $5 million limit of liability
26 applicable to the 2007-08 Liberty Primary Policy was not exhausted by the 2008
27 Claim, the 2007-08 Navigators Excess Policy was not triggered in connection with
28 that claim.

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 1            7.        Another claim arose in 2011 (the "2011 Claim"). Dialogic notified
 2 Liberty of the claim and requested coverage under the 2010-12 Liberty Primary
 3 Policy. Liberty ultimately afforded coverage for the 2011 Claim, but it did so under
 4 the 2007-08 Liberty Primary Policy because it asserted that the 2011 Claim was
 5 interrelated with the 2008 Claim under the definition of Interrelated Wrongful Acts in
 6 the 2007-08 Liberty Primary Policy. The amounts paid by Liberty to date for the
 7 2008 Claim and the 2011 Claim combined do not exceed $5 million, but further
 8 amounts may be incurred in connection with the 2011 Claim, thereby implicating the
 9 first level excess policy.
10            8.        Both Navigators and Berkley have denied coverage for the 2011 Claim.
11 Although Liberty contends that the 2011 Claim triggered the 2007-08 Liberty
12 Primary Policy, Navigators — whose policy follows form to that Liberty policy —
13 contends that Liberty's decision was erroneous. Navigators asserts that the 2008
14 Claim and the 2011 Claim are not interrelated and, therefore, the 2011 Claim did not
15 trigger the 2007-08 Liberty Primary Policy (or, as a result, the 2007-08 Navigators
16 Excess Policy). On that basis, Navigators has denied coverage for the 2011 Claim.
17            9.        Berkley has also denied coverage for the 2011 Claim. Berkley claims
18 that the 2011 Claim is interrelated with the 2008 Claim, and, therefore, that the 2011
19 Claim triggered the 2007-08 policies, not the 2010-11 policies. Berkley also
20 contends that it is not obligated to afford coverage under its policy unless and until
21 Liberty exhausts the coverage afforded for the 2011 Claim under the 2010-12 Liberty
22 Primary Policy, rather than the 2007-08 Liberty Primary Policy.
23            10.       Attached hereto as Exhibit 1 is a true and correct copy of a printout from
24 Liberty's website. This printout reflects that Liberty's corporate headquarters are in
25 New York. Attached hereto as Exhibit 2 is a true and correct copy of a printout from
26 the California Secretary of State's website. This printout reflects that Liberty is
27 incorporated in Illinois.
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 1            11. Attached hereto as Exhibit 3 is a true and correct copy of the first page
 2 of Berkley's 10-K filing with the Securities Exchange Commission for the fiscal year
 3 ended December 31, 2013. This document reflects that Berkley is incorporated in
 4 Delaware and maintains its principal offices in Connecticut.
 5           I declare under penalty of perjury under the laws of the United States of
 6 America that the foregoing is true and correct.
 7           Executed this 31st day of March 2014, at Los Angeles, California.
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